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                                      ACKNOWLEDGMENT AND NOTICE OF APPEARANCE

Short Title: CUMIS Specialty Insurance Company v. Kaufman                            Docket No.: 22-2930

Lead Counsel of Record (name/firm) or Pro se Party (name): Nelson A. Boxer

Appearance for (party/designation): Alan Kaufman, Defendant-Appellant

                                      DOCKET SHEET ACKNOWLEDGMENT/AMENDMENTS

Caption as indicated is:
( ✔ ) Correct
( ) Incorrect. See attached caption page with corrections.

     Appellate Designation is:
( ✔ ) Correct
( ) Incorrect. The following parties do not wish to participate in this appeal:
         Parties:
( ) Incorrect. Please change the following parties= designations:
         Party                                        Correct Designation


Contact Information for Lead Counsel/Pro Se Party is:
( ✔ ) Correct
( ) Incorrect or Incomplete. As an e-filer, I have updated my contact information in the PACER AManage My Account@ screen.

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                                                            RELATED CASES

( ✔ ) This case has not been before this Court previously.
( ) This case has been before this Court previously. The short title, docket number, and citation are:

( ) Matters related to this appeal or involving the same issue have been or presently are before this Court. The short titles,
docket numbers, and citations are:


                                                            CERTIFICATION

I certify that ( ✔ ) I am admitted to practice in this Court and, if required by LR 46.1(a)(2), have renewed my admission on
                           OR that ( ) I applied for admission on                                       or renewal on
                           . If the Court has not yet admitted me or approved my renewal, I have completed Addendum A.
Signature of Lead Counsel of Record: /s/
Type or Print Name: Nelson A. Boxer
          OR
Signature of pro se litigant:
Type or Print Name:
( ) I am a pro se litigant who is not an attorney.
( ) I am an incarcerated pro se litigant.
